






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00077-CV






Justin Washmon, Appellant


v.


Washington Mutual Bank, Appellee






FROM THE COUNTY COURT AT LAW NO. 2 OF TRAVIS COUNTY

NO. C-1-CV-07-011590, HONORABLE ERIC SHEPPERD, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellant Justin Washmon filed his notice of appeal in the trial court on
February&nbsp;7,&nbsp;2011.  On July 15, 2011, the Clerk of this Court sent notice to appellant that his brief was
due on June 30, 2011, and was overdue, and that if he failed to file a brief, this Court would dismiss
his appeal for want of prosecution.  The Clerk also notified appellant that his appeal would be
dismissed for want of prosecution if he did not respond to this Court by July 25, 2011.  To date,
appellant has not responded to this Court's notice and has not filed a brief.  Accordingly, we dismiss
the appeal for want of prosecution.  See Tex. R. App. P. 42.3(b), (c).




						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Rose and Goodwin

Dismissed for Want of Prosecution

Filed:   August 17, 2011


